        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 1 of 31



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
NORFOLK SOUTHERN RAILWAY                  )
COMPANY,                                  )
                                          )
                    Plaintiff,            )
                                          )
      v.                                  )   Civil Action No. 12-cv-00306 (RWR)
                                          )
HILDA L. SOLIS, Secretary of Labor,       )
                                          )
                                          )
                    Defendant.            )
                                          )




                           REPLY MEMORANDUM
               IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
             Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 2 of 31



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1


ARGUMENT .................................................................................................................................. 2


I.        FRSA CLEARLY PRECLUDES THIS COURT’S REVIEW OF THE ARB ORDER….2


II.       THE SECRETARY HAS NOT VIOLATED A “CLEAR AND MANDATORY”
          STATUTORY PROHIBITION. ......................................................................................... 4


          A.         Section 20109(f) Contains No “Clear And Mandatory” Prohibition Against the
                     Secretary…………………………………………………………………………..4
          B.         The Secretary Has Not Exceeded Her Authority………………………………….8


III.      PLAINTIFF HAS NO CLEAR STATUTORY RIGHT TO VINDICATE, OR IN THE
          ALTERNATIVE, PLAINTIFF CAN OBTAIN RELIEF IN THE COURT OF
          APPEALS………………………………………………………………………………..22


CONCLUSION ............................................................................................................................. 25




                                                                      i
            Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 3 of 31



                                              TABLE OF AUTHORITIES

                                                              CASES

Adkins v. Hendrick, 2012 WL 2178701 (D.S.C. May 29, 2012)………………………...19

*Alexander v. Gardner-Denver Co.,
   415 U.S. 36 (1974) ......................................................................................... 12, 17, 18

American Airlines v. Wolens,
  513 U.S. 219 (1955) .................................................................................................... 14

*Ass'n of Civilian Technicians v. Fed. Labor Relations Auth.,
   283 F.3d 339 (D.C. Cir. 2002) ...................................................................................... 5

Atchinson, Topeka & Santa Fe Ry. Co. v. Buell,
   480 U.S. 557 (1987) .................................................................... ………………..12, 18

*Bd. of Governors, Fed. Reserve Sys. v. MCorp Fin., Inc.,
   502 U.S. 32 (2006)……………………………………………………............3, 24, 25

Borg-Warner Protective Services Corp. v. E.E.O.C.,
    81 F. Supp. 2d 20 (D.D.C. 2000)……………………………………………….........6

Buggs v. Powell,
   293 F.Supp.2d 135 (D.D.C. 2003)……………………………………………………4

Chevron U.S.A., Inc. v. Natural Res. Def. Council, Inc.,
   467 U.S. 837 (1984) .............................................................................................. 10, 11

Chickasaw Nation v. United States,
   534 U.S. 84(2001)…………………………………………………………………….5

Consol. Rail Corp. v. Ry. Labor Executives' Ass'n,
   491 U.S. 299 (1989) .................................................................................................... 10

Dart v. United States,
   848 F.2d 217 (D.C. Cir. 1988)………………………………………………………..6

Detroit Newspaper Agency v. Nat’l Labor Relations Bd.,
   286 F.3d 391 (6th Cir. 2002)……………………………………...………………...24

FDIC v. Bender,
   127 F.3d 58 (D.C. Cir. 1997)………………………………………………………...4




                                                                   ii
            Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 4 of 31



FTC v. Miller,
  549 F.2d 452 (7th Cir. 1997)…………………………………………………… 22, 25

*Gonero v. Union Pacific R.R. Co.,
   2009 WL 3378981 (E.D. Cal. Oct. 19, 2009) ........................................... 15, 18, 20, 21

Graf v. Elgin, Joliet, and Eastern Railway Co.,
   697 F.2d 771 (7th Cir. 1983) ...................................................................................... 12

*Griffith v. Fed. Labor Relations Auth.,
   842 F.2d 487 (D.C. Cir. 1988) .................................................................................. 4, 9

Hanover Bank v. Comm’r of Internal Revenue,
  369 U.S. 672 (1962)…………………………………………………………………..5

Intercollegiate Broadcast System, Inc. v. Copyright Royalty Bd.,
    574 F.3d 748 (D.C. Cir. 2009) .................................................................................... 10

*Jordan Hospital v. Leavitt,
   571 F. Supp. 2d 108 (D.D.C. 2008) .............................................................................. 9

*Leedom v. Kyne,
   358 U.S. 184 (1958) ............................................................................................. passim

Long Term Care Partners, LLC v. United States,
   516 F.3d 225 (4th Cir. 2008) ........................................................................................ 9

Meredith v. Fed. Mine Safety and Health Review Comm’n,
  177 F.3d 1042 (D.C. Cir. 1999)……………………………………………………...10

*NYUNT v. Chairman, Broadcasting Bd. of Governors,
   589 F.3d 445 (D.C. Cir. 2009) ............................................................................... .. 3, 9

*National Air Traffic Controllers Ass'n AFL-CIO v. Fed. Serv. Impasses Panel,
   437 F.3d 1256 (D.C. Cir. 2006) .................................................................................... 9

Norfolk & Western Ry. Co. v. Am. Train Dispatchers Ass'n,
   499 U.S. 117 (1991) .............................................................................................. 12, 13

Norman v. Mo. Pac. R.R.,
   414 F.2d 73 (8th Cir. 1969) ....................................................................................... .12

*Physicians Nat'l House Staff Ass'n v. Fanning,
   642 F.2d 492 (D.C. Cir. 1981) ...................................................................................... 8




                                                                  iii
             Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 5 of 31



Public Citizen v. Office of the U.S. Trade Representatives,
   970 F.2d 916 (D.C. Cir. 1992) .................................................................................... 22

Railway Labor Executives’ Ass’n v. Nat’l Mediation Board,
   29 F.3d 655 (D.C. Cir. 1994)…………………………………………………… 6, 7, 8

Shaw v. District of Columbia,
   825 F. Supp. 2d 173 (D.D.C. 2011)……..……………………………………………4

*Sturm, Ruger & Co. v. Chao,
   300 F.3d 867 (D.C. Cir. 2002) ...................................................................... 3, 4, 24, 25

Terminal R. Ass'n of St. Louis v. Bhd. of R.R. Trainmen,
   318 U.S. 1 (1934) ........................................................................................................ 11

Thunder Basin Coal Co. v. Reich,
   510 U.S. 200 (1994) ...................................................................................................... 4

U.S. Dep't of Justice v. Fed. Labor Relations Auth.,
   981 F.2d 1339 (D.C. Cir. 1993) .................................................................................... 6

United Food and Commercial Workers, Local 400 v. NLRB,
   694 F.2d 276 (D.C. Cir. 1982) .................................................................................. 5, 6

                                           STATUTES AND REGULATIONS

29 U.S.C § 660 .................................................................................................................. 15

42 U.S.C. § 1983 ............................................................................................................... 19

45 U.S.C. § 151 ................................................................................................................... 6

45 U.S.C. § 152 ............................................................................................................... 6, 7

*49 U.S.C. § 20109 ............................................................................... …………….passim

*49 U.S.C. § 42121…………………………………………………………………….5, 8

73 Fed. Reg. 8455 (2008) ................................................................................................ .15

                                               LEGISLATIVE MATERIALS

126 Cong. Rec. 26532 (1980) ..................................................................................... 16, 17




                                                                       iv
       Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 6 of 31



                         ADMINISTRATIVE DECISIONS

Mercier v. Union Pacific R.R., Case No. 2008-FRSA-0004 (June 3, 2009)……………10




                                         v
         Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 7 of 31



                                        INTRODUCTION

       This case stems from two separate assertions in two distinct forums, neither of which

belongs in this Court, that Plaintiff violated the rights of Larry Koger, one of its employees.

Plaintiff dismissed Koger because he allegedly broke a rule and caused an accident. Koger

challenged this allegation by filing a grievance and pursuing arbitration under his collective

bargaining agreement (“CBA”). In addition, he filed a separate complaint with the Department

of Labor (“DOL”) under the Federal Railroad Safety Act (“FRSA”), 49 U.S.C. § 20109, alleging

that Plaintiff retaliated against him for reporting a work-related personal injury that he sustained

during the accident. The DOL’s Administrative Review Board (“ARB”), acting on behalf of the

Secretary, issued an interlocutory order (“ARB Order”) holding that Koger’s FRSA complaint

was not precluded by his pursuit of a grievance and arbitration under the CBA. Plaintiff

disagrees with this Order, incorrectly conflating Koger’s two separate claims, and argues that

this Court has jurisdiction to strike down the ARB Order and to short-circuit the FRSA

administrative proceeding. Plaintiff is wrong on all counts.

       Plaintiff’s invocation of jurisdiction under Leedom v. Kyne, 358 U.S. 184 (1958), is a far-

fetched attempt to evade the process that Congress has established for the Secretary to adjudicate

FRSA complaints and for the courts of appeal to review the Secretary’s orders. For Leedom to

apply, Plaintiff has to show that: (1) Congress has not foreclosed district court review of the

agency’s order; (2) the Secretary has violated a “clear and mandatory” statutory limitation on her

authority; and (3) § 20109(f) affords Plaintiff a clear right that it cannot vindicate in another

forum. Plaintiff fails to show that any of these requirements are met.

       First, FRSA clearly precludes this Court’s review of the ARB Order. The preclusion of

review is so clear that Plaintiff makes no attempt in its Opposition to show otherwise; it only

attempts to show that the other two predicates of Leedom are met.

                                                  1
         Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 8 of 31



       Second, the plain text of § 20109(f) contains no clear limitation on the Secretary’s

authority. Unlike other FRSA provisions that clearly and unambiguously limit the Secretary’s

authority, § 20109(f) does not even mention the Secretary. Even if §20109(f) contains such a

clear limitation on the Secretary’ authority, she has not exceeded it. Section 20109(f) bars an

employee from “seek[ing] protection under [it] and another provision of law….” 49 U.S.C. §

20109(f). The ARB correctly concluded that this language does not bar an employee who

challenges his dismissal under a CBA from pursuing a retaliation claim under FRSA. Even if the

ARB’s interpretation of § 20109(f) is erroneous (which it is not), there is no Leedom jurisdiction

because the interpretation, at a minimum, is plausible. Leedom does not apply where, as here, a

plaintiff simply disagrees with an agency’s plausible statutory interpretation.

       Finally, Plaintiff does not have a clear statutory right to vindicate under § 20109(f). It is

undeniable that Plaintiff is claiming a clear right under § 20109(f) despite the fact that there is no

explicit mention of railroad carriers in this provision. Even if § 20109(f) confers on Plaintiff a

clear right, there is no Leedom jurisdiction because Plaintiff can seek judicial review of the ARB

Order after it is final in the court of appeals. The Supreme Court has established that Leedom

does not apply where, as here, a statutory provision clearly allows a party allegedly aggrieved by

an administrative order to seek appellate review of the order after it is final. Accordingly, the

Complaint should be dismissed.

                                           ARGUMENT

I.     FRSA CLEARLY PRECLUDES THIS COURT’S REVIEW OF THE ARB
       ORDER.

       For Leedom jurisdiction to be available, a case must (1) implicate the violation of a clear

and mandatory statutory prohibition and (2) arise in a context where there are no alternative

avenues to vindicate a clear statutory right. Pl.’s Opp’n at 3, 15 (acknowledging these two


                                                  2
         Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 9 of 31



predicates for Leedom jurisdiction). But Plaintiff ignores the third requirement for Leedom

jurisdiction to review a non-final administrative order: Congress must not have foreclosed

district court review of the agency’s order. Indeed, Leedom’s limited basis for district court

jurisdiction does not apply where statutory preclusion of such jurisdiction is express. It is only

where such preclusion “is implied rather than express” that it might be available. NYUNT v.

Chairman, Broad. Bd. of Governors, 589 F.3d 445, 449 (D.C. Cir. 2009) (citing Bd. of

Governors of the Fed. Reserve Sys v. MCorp Fin., Inc., 502 U.S. 32, 44 (1991); McBryde v.

Comm. to Review Circuit Council Conduct & Disability Orders of the Judicial Conference of the

U.S., 264 F.3d 52, 63-64 (D.C. Cir. 2001) (“[Leedom v.] Kyne involved preclusion that had been

inferred …. )). See Def.’s Mem. at 12 (Leedom is “an extremely narrow exception to statutes

that impliedly preclude district court review of administrative action.” (citing NYUNT, 589 F.3d

at 449) (emphasis added)). A statutory preclusion of review is not implied when there is “ ‘clear

and convincing’ evidence of legislative intent to preclude review.” McBryde, 264 F.3d at 63

(citing MCorp, 502 U.S. at 44). Here, there is clear and convincing evidence of congressional

intent to preclude this Court’s review of the ARB Order, which means that Leedom is

inapplicable.

       As Plaintiff effectively concedes, Congress (1) has not authorized this Court to review the

ARB Order at issue here; (2) has only authorized judicial review of final orders of the Secretary

in the courts of appeal; and (3) has explicitly granted jurisdiction to district courts in specified

FRSA actions that do not include claims such as Plaintiff’s. Def.’s Mem. at 10. Plaintiff also

does not dispute that its claim “requires the interpretation of the parties’ rights and duties under a

statute and its regulations.” Def.’s Mem. at 11 (citing Sturm, Ruger & Co. v. Chao, 300 F.3d

867, 874 (D.C. Cir. 2002)). Where a statute gives district courts jurisdiction only in



                                                   3
         Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 10 of 31



circumstances nonexistent in a given case, but where an administrative order is reviewable in a

court of appeals, district courts are precluded from exercising jurisdiction. Def.’s Mem. at 10-11

(citing Thunder Basin Coal Co v. Reich, 510 U.S. 200, 207-08 (1994); Sturm, 300 F.3d 873-74;

Griffith v. Fed. Labor Relations Auth., 842 F.2d 487, 491 (D.C. Cir. 1988)).

        Leedom does not apply in this case because FRSA reveals “clear and convincing”

congressional intent to preclude this Court’s review of the ARB Order. Plaintiff’s failure to

argue that FRSA’s preclusion of judicial review is implied concedes this “clear and convincing”

intent. “It is well-established in this Circuit that ‘when a plaintiff files an opposition to a

dispositive motion and addresses only certain argument raised by the defendant, a court may

treat those arguments that the plaintiff failed to address as conceded.’ ” Shaw v. District of

Columbia, 825 F. Supp. 2d 173, 177 (D.D.C. 2011) (quoting Buggs v. Powell, 293 F.Supp.2d

135, 141 (D.D.C. 2003) (citing FDIC v. Bender, 127 F.3d 58, 67-68 (D.C. Cir. 1997)).              Thus,

Plaintiff fails to show that this Court has Leedom jurisdiction and the Complaint should be

dismissed.

II.     THE SECRETARY HAS NOT VIOLATED A “CLEAR AND MANDATORY”
        STATUTORY PROHIBITION.

        A. Section 20109(f) Contains No “Clear and Mandatory” Prohibition Against the
           Secretary.

        Section 20109(f) does not contain a “clear and mandatory” prohibition against the

Secretary, as would be necessary for Leedom jurisdiction to exist here, 358 U.S. 188, for the

simple and undeniable reason that it does not even mention the Secretary. That provision says:

        ELECTION OF REMEDIES.—An employee may not seek protection under both this
        section and another provision of law for the same allegedly unlawful act of the railroad
        carrier.

49 U.S.C. § 20109(f).



                                                   4
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 11 of 31



         Besides nowhere mentioning the Secretary, this provision does not describe any limits on

her investigative or adjudicatory authority. Plaintiff admits that “§ 20109(f) does not explicitly

say that the Secretary ‘shall not’ undertake an investigation” under FRSA when an employee has

challenged his dismissal in arbitration, Pl.’s Mem. at 21. See Hanover Bank v. Comm’r of

Internal Revenue, 369 U.S. 672, 687 (1962) (noting that courts do not “add to or alter the words

employed [in a statute] to effect a purpose which does not appear on the face of that statute”); see

also Chickasaw Nation v. United States, 534 U.S. 84, 89 (2001) (refusing a party’s interpretation

of a statute that would essentially require the Court to rewrite the statute). Indeed, Plaintiff can

hardly deny that, no matter what § 20109(f) means, the Secretary not only may, but must

investigate and adjudicate retaliation complaints under FRSA. 49 U.S.C. § 20109(d)(2),

incorporating the investigation requirement in 49 U.S.C. § 42121(b)(2). This obligation

necessarily requires the Secretary to determine whether a complainant, such as Koger in this

case, has sought protection under § 20109 and “another provision of law” for “the same allegedly

unlawful act of the railroad carrier,” which in turn requires her to interpret these terms. As a

result, Plaintiff cannot show that that the Secretary acted contrary to a “clear and mandatory”

prohibition as needed for Leedom jurisdiction.

         Plaintiff nonetheless contends that using “tools of statutory analysis” one can interpret §

20109(f) as a limitation on the Secretary’s authority. 1 But given the explicit authority of the

Secretary to investigate and adjudicate FRSA complaints described in § 20109(d)(2) and

§42121(b)(2), and the lack of an explicit limitation on the Secretary’s authority in § 20109(f),

such an interpretation is erroneous. In any event, disputes over statutory interpretation are well

1
  Before filing the Complaint in this case, Plaintiff only argued that § 20109(f) imposed a limitation on employees.
See Pl.’s Opp’n at 13; Compl. ¶ 26. Plaintiff now contends that the statute also imposes a limitation on the Secretary
in order to concoct a Leedom argument and get rid of a valid administrative decision that it simply disagrees with. A
“disagreement with the agency’s ruling,” however, “falls well short of the requirements for Leedom jurisdiction.”
Ass’n of Civilian Technicians v. Fed. Labor Relations Auth., 283 F.3d 339, 344 (D.C. Cir. 2002).

                                                          5
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 12 of 31



beyond the narrow scope of Leedom jurisdiction. Def.’s Mem. at 14 (citing United Food and

Commercial Workers, Local 400 v. NLRB, 694 F.2d 276, 278 (D.C. Cir. 1982) (agency must

have disregarded a specific and unambiguous statutory directive for Leedom to apply); U.S.

Dep’t of Justice v. Fed. Labor Relations Auth., 981 F. 2d 1339, 1343 (D.C. Cir. 1993) (same));

Def.’s Mem. at 17 (citing, e.g., Borg-Warner Protective Services Corp. v. E.E.O.C., 81 F. Supp.

2d 20, 24 (D.D.C. 2000) (Leedom not justified when the dispute is simply over statutory

interpretation) citing Dart v. United States, 848 F.2d 217, 231 (D.C. Cir. 1988)).

         Railway Labor Executives’ Ass’n v. Nat’l Mediation Board (RLEA), 29 F.3d 655 (D.C.

Cir.) (en banc), amended, 38 F.3d 1224 (D.C. 1994), on which Plaintiff relies, similarly offers no

support to Plaintiff’s argument that this case involves a statutory prohibition that is sufficiently

“clear and mandatory” for Leedom purposes. Pl.’s Opp’n at 17-21. The statutory prohibition in

RLEA was clear, as the relevant provision explicitly mentioned the agency whose authority

Congress limited and stated in clear terms what Congress intended the agency to do.

         In RLEA, the National Mediation Board decided that it could investigate or resolve

representation disputes either sua sponte or pursuant to a petition from a carrier even though the

statute explicitly provided that “[i]f any dispute shall arise among a carrier’s employees …it

shall be the duty of the Mediation Board, upon request of either party to the dispute, to

investigate such dispute[s]….” 29 F.3d at 665 (citing 45 U.S.C. § 152, Ninth (emphasis in

original)). The court said that it was “perfectly clear” from the language of this statutory

provision and undisputed by the Mediation Board that neither a carrier nor the Mediation Board

was a “party” under the provision, so there was no authority to investigate a dispute absent a

request from an employee. 2 Id. Although the statute did not include a negative (“shall not”)


2
 The court referred to other provisions in the statute and to legislative history just to confirm what was “perfectly
clear” from the plain text of the statute, not to determine the meaning of the statute, as Plaintiff suggests. RLEA, 29

                                                           6
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 13 of 31



command, the court held that Leedom also applies when an agency violates affirmative (“shall”)

commands. RLEA, 29 F.3d at 662. 3 But the court of appeals’ recognition in RLEA that Leedom

applies to affirmative commands offers absolutely no support to Plaintiff’s characterization of

RLEA as allowing Leedom jurisdiction even when the relevant statutory provision does not

explicitly mention the agency whose authority Congress is allegedly limiting. RLEA cannot

possibly support such a distorted characterization because the relevant statutory provision in that

case explicitly mentioned the Mediation Board and explicitly described the pre-conditions for it

to conduct an investigation. Indeed, Plaintiff cites no case where a court has based its exercise of

Leedom jurisdiction on a statutory provision that does not explicitly mention the agency whose

authority Congress is supposedly limiting. 4

         The court of appeals in RLEA evaluated other provisions in the relevant statute and

observed that, “where Congress meant to endow carriers with the right to invoke the Board’s

jurisdiction, or to authorize the Board to offer its services, it did so explicitly.” Id. at 666

(emphasis in original) (citing 45 U.S.C. § 155, First (1988)). See id. at 665-666 (“[W]here

Congress intended carriers and employees to be treated alike (that is, like “parties”) with respect

to the resolution of particular disputes, this is made plain in the statute.”) (citing, e.g., 45 U.S.C.

§ 152, Sixth (1988)). “The fact that Congress omitted equivalent [explicit] language in Section




F.3d at 665 (“Reference to other sections of the RLA [Railway Labor Act, 45 U.S.C. § 151] confirms that Section 2,
Ninth does not contemplate action-initiating roles either for the Board or for carriers.”) (emphasis added); id. at 669
(“Our review of the legislative history thus confirms our reading of the statutory text ….”) (emphasis added)).
3
  Contrary to Plaintiff’s suggestion, Defendant recognized in her Memorandum that FRSA provisions containing
affirmative commands were within the scope of Leedom. Def.’s Mem. at 15 (citing, e.g., 49 U.S.C. §
20109(d)(2)(A), incorporating 49 U.S.C. § 4212(b)(2)(B)(i); 49 U.S.C § 20109(i)(2)).
4
  Gracey also offers no support to Plaintiff. Besides being distinguishable from this case because the relevant
statutory provision in that case explicitly mentions the Secretary, Gracey only mentions Leedom in a footnote
without any discussion or analysis. 29 F.3d at 674 n.1. That a centerpiece of Plaintiff’s argument is a non-binding
case with a passing reference to Leedom in a footnote reveals just how much support there is in the case law for
Plaintiff’s Leedom argument.

                                                           7
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 14 of 31



2, Ninth” led the court to conclude that “Congress intended neither carriers nor the Board to

initiate representation proceedings.” Id. at 666.

       By contrast to the provision at issue in RLEA, § 20109(f) does not even mention the

Secretary, much less clearly express what Congress intended the Secretary to do. This is starkly

different from other provisions in § 20109, where Congress explicitly expressed its intent to limit

the authority of the Secretary or other Executive Branch officials. Def.’s Mem. at 15 (citing,

e.g., 49 U.S.C. § 20109(d)(2)(A), incorporating 49 U.S.C. § 42121(b)(2)(B)(i) (“The Secretary

of Labor shall dismiss a complaint filed under this subsection and shall not conduct an

investigation…unless the complaint makes a prima facie showing that behavior described in

paragraphs (1) through (4) of subsection (a) was a contributing factor in the unfavorable

personnel action alleged in the complaint.”) (emphasis added)). No “tools of statutory analysis”

are necessary to understand these limitations on the Secretary’s authority because the language is

clear. The fact that Congress omitted from § 20109(f) equivalent clear language mentioning the

Secretary and specifying what she could or could not do reveals that this section is not intended

as a limitation on the Secretary’s authority. Because § 20109(f) does not contain a specific,

clear, and mandatory limitation against the Secretary’s authority, and in light of other provisions

in FRSA containing explicit limitations on the Secretary’s authority, there is no plausible

Leedom argument in this case and the Complaint should be dismissed. Def.’s Mem. at 14-16.

       B. The Secretary Has Not Exceeded Her Authority.

       Assuming arguendo that Plaintiff can show that § 20109(f) contains a “clear and

mandatory” statutory prohibition against the Secretary, Plaintiff still has to show that the

Secretary has clearly exceeded this limitation on her authority. Leedom, 358 U.S. at 188;

Physicians Nat’l House Staff Ass’n v. Fanning, 642 F.2d 496 n.4 (D.C. Cir. 1981). The only way



                                                    8
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 15 of 31



that Plaintiff can meet this requirement is by showing that § 20109(f) can only be read as

precluding the Secretary from investigating and adjudicating a FRSA complaint when an

employee has challenged his dismissal through a grievance and arbitration process. Def.’s Mem.

at 17. This requires Plaintiff to show that the only plausible interpretation of an employee’s

filing of a grievance is that he “seeks protection” under the RLA for “the same allegedly

unlawful act of the railroad carrier” that the employee “seeks protection” for under § 20109.

         It is well established, however, that if the ARB has provided a colorable or plausible

interpretation of the statute, Leedom does not apply. Def.’s Mem. at 16-17 (citing, e.g., Nat’l Air

Traffic Controllers Ass’n AFL-CIO v. Fed. Serv. Impasses Panel, 437 F.3d 1256, 1264 (D.C. Cir.

2006); Griffith, 842 F.2d at 494; Jordan Hospital v. Leavitt, 571 F.Supp. 2d 108, 117 (D.D.C.

2008); Long Term Care Partners, LLC v. United States, 516 F.3d 225, 234 (4th Cir. 2008)).

Even if the ARB’s plausible statutory interpretation is erroneous, Plaintiff cannot invoke Leedom

to contest it because disputes over statutory interpretation are beyond the narrow scope of

Leedom. Def.’s Mem. at 17 (citing, e.g., Boire v. Greyhound Corp., 376 U.S. 473, 481 (1964)

(the Leedom exception is “not to be extended to permit plenary district court review of [agency]

orders … whenever it can be said that an erroneous assessment … has led [the agency] to a

conclusion which does not comport with the law.”)). This is such a heavy burden that the Court

of Appeals for the D.C. Circuit has described an attempt to establish Leedom jurisdiction as

“essentially a Hail Mary pass-[that] in court as in foot-ball … rarely succeeds.” Def.’s Mem. at

13 (quoting NYUNT, 589 F.3d at 449 (no Leedom jurisdiction even if the agency “has

misinterpreted or otherwise evaded its statutory obligation”)). 5


5
 Plaintiff incorrectly states that the question under Leedom is just the same as in “any statutory interpretation case.”
Pl.’s Opp’n at 19. Plaintiff has a heavier burden here; it needs to show that its interpretation is the only plausible
one. If the Court finds that the statute is ambiguous, Plaintiff has failed to meet this burden and the Complaint
should be dismissed. Def.’s Mem. at 28.

                                                           9
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 16 of 31



         That the ARB’s reading of the statute is correct is clear from the language of the statute

itself. 6 “[T]he meaning of statutory language, plain or not, depends on context” and the words in

a statute must be read “with a view to their place in the overall statutory scheme[.]” Def.’s Mem.

at 25-26 (quoting Intercollegiate Broadcast System, Inc. v. Copyright Royalty Bd., 574 F.3d 748,

771 (D.C. Cir. 2009); Meredith v. Fed. Mine Safety and Health Review Comm’n, 177 F.3d 1042,

1054 (D.C. Cir. 1999)). There is no dispute that the term “this section” in § 20109(f) refers to §

20109. And it also cannot be disputed that the “unlawful act” from which FRSA protects

employees consists of discrimination and retaliation by railroad carriers for reporting safety

violations or work-related injuries. 49 U.S.C. § 20109(a). This is the relevant context and

overall statutory scheme that controls the meaning of § 20109(f).

         The ARB correctly concluded that the term “another provision of law” “does not

encompass grievances filed pursuant to a ‘collective bargaining agreement,’ which is not

‘another provision of law’ but is instead a contractual agreement.” 7 Compl. Ex. A at 6. The only

inquiry in a grievance and arbitration process under a CBA is whether the parties have acted

according to the contractual terms of the CBA. Def.’s Mem. at 22 (citing Consol. Rail Corp. v.

Ry. Labor Executives’ Ass’n, 491 U.S. 299, 307 (1989) (the issue in arbitration is whether a party

has a contractual right to take action under the terms of a CBA)). See Pl.’s Opp’n at 26 (in


6
  The fact that an Administrative Law Judge (“ALJ”) in a different case, Mercier v. Union Pacific R.R., Case No.
2008-FRSA-0004 (June 3, 2009), interpreted § 20109(f) the same way as the ARB did here lends plausibility to the
ARB’s interpretation. Def.’s Mem. at 17-18. See Pl.’s Opp’n at 14. Plaintiff contends that this is of no
consequence because the court in RLEA found Leedom jurisdiction even though the judges did not all vote the same
way. Pl.’s Opp’n at 17. However, multiple issues affected the judges’ votes in RLEA. See RLEA, 29 F.3d at 674-
681 (Williams, dissenting) (dispute also included, among other things, the effect of the APA on Switchmen’s Union
v. Nat’l Mediation Bd., 320 U.S. 297 (1943), whether the issue before the Court was jurisdictional, and the effect of
Chevron deference). In contrast, the ALJ in Mercier was considering only one issue. In any event, the ARB’s
interpretation is not only plausible because it was validated by an independent ALJ, but also because it is correct.
7
  In Koger’s FRSA proceeding, the ALJ decided that § 20109(f) barred him from pursuing the complaint because he
had challenged his dismissal in arbitration. Pl.’s Opp’n at 14. But this does not support Plaintiff’s argument the
same way as the decision of the ALJ in Mercier supports Defendant’s position because Plaintiff has to show that its
interpretation is the only plausible one. In contrast, for Leedom to be inapplicable, Defendant’s interpretation of the
statute needs to be simply a plausible one.

                                                          10
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 17 of 31



“arbitration an employee ‘seeks protection’ … for the alleged violation of his labor agreement

rights.”). Indeed, in this case, the issue in the grievance/arbitration was whether Koger violated a

rule requiring him to alert his locomotive engineer to a red signal. Pl.’s Opp’n at 12. The terms

of the RLA are irrelevant for the resolution of this issue because the RLA, despite requiring the

formation of CBAs and establishing a process for resolving disputes regarding the terms of

CBAs, does not require CBAs to provide any specific protections. Def.’s Mem. at 21 (citing

Terminal R. Ass’n of St. Louis v. Bhd. of R.R. Trainmen, 318 U.S. 1, 6 (1943)). As a matter of

logic, an employee cannot “seek protection” under the RLA in a grievance and arbitration

process because the RLA offers no substantive protections for the employee to claim in that

process. Thus, an employee can only “seek protection” under the CBA because it is the CBA

that provides the rights, if any, that the employee can claim in the grievance and arbitration

process. Courts have recognized this logic. Def.’s Mem. at 21-24.

         Arbitrators also have no authority to consider retaliation/discrimination claims. Def.’s

Mem. at 22-23, 30. 8 Accordingly, an employee who files a grievance and pursues arbitration

under a CBA cannot “seek protection” for retaliation and discrimination by railroad carriers for

reporting safety violations or work-related injuries, which is the “unlawful act” that the employee

“seeks protection” for under § 20109. Therefore, an employee does not “seek protection” in

arbitration for the “same allegedly unlawful act” that he “seek[s] protection” for under § 20109. 9



8
  Plaintiff concedes multiple times in his Opposition that an employee may only vindicate his rights under a CBA in
arbitration pursuant to the RLA. See, e.g., Pl.’s Opp’n at 26 (in “arbitration an employee ‘seeks protection’ … for
the alleged violation of his labor agreement rights.”); id at 6 (RLA establishes a process for resolving disputes over
the interpretation or application of CBAs concerning rates of pay, rules, or working conditions); id. at 22 (“RLA § 3
compelled Koger to go to arbitration if he wished to challenge his dismissal as assertedly in violation of his labor
agreement.”).
9
  Plaintiff mistakenly contends that “Chevron deference would never come into play at any point.” Pl.’s Opp’n at 38
n.28. If the Complaint is dismissed (as it should be), Koger’s complaint is fully adjudicated, and Plaintiff challenges
the ARB’s interpretation on appeal, the court of appeals may find that the relevant statutory provisions are
ambiguous and afford Chevron deference to the ARB’s interpretation. Def.’s Mem. at 28.

                                                          11
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 18 of 31



         Plaintiff concedes that “the substance of the right the employee seeks to vindicate” in

arbitration is not in the RLA, but rather in a “labor agreement.” Pl.’s Opp’n at 25, 31. But

Plaintiff argues that, first, an employee who files a grievance and pursues arbitration does not

seek protection under a CBA, a contract, but rather under the RLA, Pl.’s Mem. at 26, and,

second, that § 20109(f) does not require the other “provision of law” to contain any substantive

right that the employee can vindicate, Pl.’s Opp’n at 24. Both arguments are meritless.

         First, it is well settled that CBAs are contracts and that an employee who files a grievance

and pursues arbitration is vindicating the contractual rights in a CBA even if the CBA is

established pursuant to the RLA. Def.’s Mem. at 21- 22 (citing, e.g., Alexander v. Gardner-

Denver Co., 415 U.S. 36, 49-50 (1974); Norman v. Pac. R.R., 414 F.2d 73, 81-83 (8th Cir. 1969)

(distinguishing between statutory rights under Title VII and contractual rights under a CBA

established pursuant to the RLA). See Atchinson, Topeka and Santa Fe Railway Co. v. Buell,

480 U.S. 557, 562-65 (1987) (distinguishing between rights under a CBA established pursuant to

the RLA and statutory rights under FELA); Graf v. Elgin, Joliet & Eastern Ry., 697 F.2d 771

(7th Cir. 1983). 10 Indeed, § 20109(h) distinguishes between the rights and remedies of an

employee under federal and state law and his rights and remedies under “any collective

bargaining agreement,” and provides that FRSA rights and remedies cannot be waived by these

agreements. 49 U.S.C. § 20109 (h) (emphasis added). In addition, an employee cannot be

considered to “seek protection” under the RLA when he challenges his dismissal in arbitration


10
   Plaintiff argues that Dispatchers essentially overruled Graf v. Elgin, Joliet & Eastern Ry., 697 F.2d 771 (7th Cir.
1983), Pl.’s Opp’n at 27, which held that disputes under a CBA do not arise under the RLA despite the fact that the
RLA regulates CBAs in the railroad industry. Def.’s Mem. at 19. But, as Plaintiff itself suggests, the issue in Graf
was different from the issue in Dispatchers, so Dispatchers cannot affect the holding in Graf. Since Graf describes
the relationship between the RLA and a CBA, it informs the issue in this case. In any event, there is no conflict
between Dispatchers and Graf because the Court in Dispatchers made clear that CBAs are contracts despite the fact
that they are enforceable under the RLA. This conclusion is consistent with Buell and Norman, which explain that
the rights in a CBA are not statutory despite the fact that a CBA is formed pursuant to the RLA. See Buell, 480 U.S.
at 562-65; Norman, 414 F.2d at 81-83.

                                                         12
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 19 of 31



for the “same…unlawful act” that he seeks protection for under § 20109(f) because the RLA

does not protect an employee from the same unlawful act— retaliation and discrimination for

whistleblowing activities—that § 20109(f) forbids. Therefore, the ARB correctly concluded that

Koger did not seek protection under “another provision of law” when he filed a grievance and

pursued arbitration.

       Plaintiff contends that the Supreme Court in Dispatchers essentially held that employees

who file a grievance and pursue arbitration seek protection under the RLA, not a CBA. Pl.’s

Opp’n at 27-28. This argument stretches the holding in Dispatchers to untenable proportions.

The Court in Dispatchers held that the term “all other law” in the Interstate Commerce Act

(“ICA”), a statute exempting railroad carriers from “the antitrust laws and from all other law”

when the Interstate Commerce Commission approves a railroad consolidation, was “broad

enough to include laws that govern the obligations imposed by a contract.” Def.’s Mem. at 24

(citing Dispatchers, 499 U.S. at 129 (emphasis added)). The Court explicitly stated that CBAs

are contracts, but held that railroad carriers were exempt from their contractual obligations under

CBAs because the ICA superseded the RLA, the law pursuant to which CBAs were formed.

Dispatchers, 499 U.S. at 129-132.

       Plaintiff also incorrectly contends that the holding in Dispatchers “rests on the breadth of

the words ‘all other law’ and … not on the policies of the ICA.” Pl.’s Opp’n at 27. The Court

said that its holding was grounded on the national policy promoting railroad carrier consolidation

of the ICA. See Dispatchers, 499 U.S.at 119 (“the [ICA] … contains the current statement of

this national policy [promoting railroad carrier consolidation].”); id. at 132 (“Our determination

that [the ICA] supersedes collective-bargaining obligations via the RLA …makes sense of the

consolidation provisions of the [ICA.]”); id. at 133 (“If [the ICA] did not apply to bargaining



                                                13
         Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 20 of 31



agreement enforceable under the RLA, rail carrier consolidations would be difficult, if not

impossible, to achieve.”). It also emphasized in a subsequent case that its interpretation of the

term “all other law” in Dispatchers did not apply in every context. Def.’s Mem. at 26 (citing

Am. Airlines v. Wolens, 513 U.S. 219, 229 n.6, 228-29 (1955)). The applicable principle from

Dispatchers is that the national policy of a statute informs the construction of that statute’s

language. Construing the term “another provision of law” in § 20109(f) in light of the national

policy of FRSA to enhance the remedies of employees supports the Secretary’s interpretation of

the this term as referring only to actual provisions of positive law, not that of Plaintiff’s

overbroad reading of the term. Def.’s Mem. at 26 (citations omitted).

       Second, for an employee to “seek protection” under § 20109 and “another provision of

law for the same allegedly unlawful act of the railroad carrier,” the other “provision of law” must

afford protection to employees for the “same … unlawful act” that the employee “seeks

protection” for under § 20109 – here, retaliation and discrimination for reporting safety

violations or work-related injuries. See 49 U.S.C. § 20109(a). The term “another provision of

law” cannot be read in isolation as Plaintiff pretends. Rather, its meaning is derived from the

other terms in § 20109(f) and the overall statutory scheme. Def.’s Mem. at 25. Specifically, it is

defined by the term “this section,” which immediately precedes it. In addition, the term

“provision of law” is modified by the adjective “another,” which suggests that the “provision of

law,” while different from “this section,” is of the same kind as “this section.” See MERRIAM-

WEBSTER DICTIONARY, at http://www.merriam-webster.com/dictionary/another;

DICTIONARY.COM, at http://dictionary.reference.com/browse/another. The meaning must also

take into account the term “for the same allegedly unlawful act.” The “unlawful act” that §

20109 prohibits is retaliation and discrimination against employees for whistleblowing activities.



                                                  14
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 21 of 31



See 49 U.S.C. §20109(a). Therefore, the sentence suggests that “another provision of law” refers

to statutory provisions like § 20109 containing substantive protections for employees against

retaliation and discrimination for reporting safety violations. 11

         Legislative history confirms this meaning of the term “another provision of law.” Section

20109(f) was established “to prevent, for example, an employee from getting double the

backpay, compensatory damages, and punitive damages the employee is entitled to by seeking

protection under both the Occupational Safety and Health Act of 1970, 29 U.S.C. [§] 660(c), and

Section 20109.” Def.’s Mem. at 20 (quoting 73 Fed. Reg. 8455 (2008) (emphasis added)). The

Occupational Safety and Health Act (“OSHA”) is a statute, like FRSA, affording substantive

protections to employees who report safety violations against discrimination and retaliation by

their employers. This legislative history reveals that “another provision of law” refers to statutes,

like the OSHA and FRSA, affording these substantive protections to employees. 12

         Plaintiff contends that § 20109(f) was not only enacted to prevent an employee from

pursuing remedies under FRSA and OSHA. Pl.’s Opp’n at 31 n. 23. However, Plaintiff offers

no evidence that Congress had other statutes in mind, especially ones like the RLA that afford no


11
   Plaintiff cites to a district court case in Iowa that interpreted the term “same allegedly unlawful act” as meaning
“the act itself,” not “the character or motivation of the employer’s allegedly unlawful act.” Pl.’s Opp’n at 29 (citing
Sereda v. Burlington Northern Santa Fe R.R., 2005 U.S. District LEXIS 5598, at *13). This case is immaterial.
First, Sereda is of questionable validity because it was decided before the 2007 amendments to FRSA, which
transferred authority to the DOL to investigate FRSA complaints and added subsections (g) and (h). The case is
inapplicable because it did not take into account §§ 20109(g) and (h), which govern the relationship between FRSA
rights, other rights under federal and state law, and CBA rights. These provisions establish that FRSA does not
diminish other statutory and contractual rights. Indeed, Plaintiff recognizes that Sereda was overruled by §
20109(g). Pl.’s Opp’n at 35 n.26. Second, the court’s statement cannot defeat the fact that the specific “unlawful
act” that § 20109 prohibits is retaliation and discrimination for reporting safety violations or work-related injuries.
Section 20109 does not prohibit other types of actions that may be unlawful, such as dismissing an employee in
violation of a CBA. Thus, filing a FRSA claim and seeking protection for different adverse actions, such as a
dismissal in violation of a CBA, is not barred by § 20109(f).
12
   In addition, this legislative history refutes Plaintiff’s contention that Defendant “just made-up” that Congress’
intent in enacting § 20109(f) was to prevent an employer from “having to pay duplicative damages to the employee
at the conclusion of each of the two proceedings.” Pl.’s Opp’n at 31 n.23. See also Gonero v. Union Pacific R.R.
Co., 2009 WL 3378987, at *3 (E.D. Cal.) (explaining that the election of remedies doctrine does not bar a plaintiff
from pursuing an action against an identical defendant in several courts for the enforcement of different and distinct
rights or the redress of different and distinct wrongs, but that there can only be one recovery).

                                                          15
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 22 of 31



substantive protections to employees against discrimination/retaliation for whistleblowing

activities. Plaintiff certainly does not show that Congress had CBAs in mind. The best

indication of the meaning of the term “another provision of law” in § 20109(f), besides the

context and overall statutory scheme, is the explicit reference in the legislative history to OSHA.

       There are other indications that the RLA, while clearly a statute, is not the other

“provision of law” referenced in § 20109(f). First, before the 2007 amendments to FRSA, §

20109 complaints were adjudicated according to the procedures referenced in the RLA, which

included arbitration. The RLA could not have originally constituted “another provision of law”

because an employee was required to submit FRSA claims to arbitration. Def.’s Mem. at 21 n.6.

Second, Congress’ intent in passing the 2007 amendment was to take FRSA complaints out of

arbitration and to authorize the Secretary to investigate and adjudicate these complaints. Def.’s

Mem. at 30. Accepting Plaintiff’s interpretation of the term “another provision of law” would

leave many employees without a forum to vindicate federal statutory rights and undermine the

congressional mandate of the Secretary to ensure railroad safety. Def.’s Mem. at 30. This is

certainly not what Congress intended.

       The only legislative history that Plaintiff relies on to support its argument that “another

provision of law” encompasses arbitration is a short part of a statement saying that § 20109(f) is

intended to prevent “unneeded litigation and inconsistent results.” Pl.’s Opp’n at 31 (citing 126

Cong. Rec. 26532 (Sept. 22, 1980) (remarks of Congressman Florio). But nothing suggests that

this congressman had a grievance and arbitration process in mind. Indeed, earlier in the same

statement, the congressman says that § 20109(f) is a provision “clarifying the relationship

between the remedy provided here and a possible separate remedy under OSHA.” Pl.’s Opp’n at

10 (citing 126 Cong. Rec. 26532 (Sept. 22, 1980) (emphasis added)). This is an undeniable



                                                16
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 23 of 31



indication that Congress intended the term “another provision of law” to mean OSHA and

similar statutes protecting employees from retaliation and discrimination for reporting safety

violations.

       In any event, pursuing arbitration under a CBA does not make FRSA complaints

“unneeded litigation” for three reasons. First, despite relating to a common factual occurrence,

the inquiry in FRSA (retaliation/discrimination) is different from the inquiry in arbitration

(compliance with terms of a CBA). Second, FRSA provides relief (compensatory and punitive

damages) unavailable in arbitration. And third, arbitration may be ill-suited for promoting

railroad safety, the ultimate purpose of FRSA. Def.’s Mem. at 23-24.

       There is also no risk of inconsistent results. As the Supreme Court has explicitly stated,

there is no “inconsistency of results from permitting [CBA rights and federal statutory rights] to

be enforced in their respectively appropriate forums.” Alexander, 415 U.S. at 50. See Def.’s

Mem. at 24. Plaintiff argues that the Supreme Court’s analytical approach is “plainly incorrect”

because an arbitrator “might find in favor of the railroad and order no relief, while DOL could

find in favor of the employee and order reinstatement, back pay, and damages.” Pl.’s Opp’n at

33. But these results are not inconsistent. The inquiry in arbitration is whether the terms of the

CBA were violated, while the inquiry in a FRSA complaint is whether the carrier retaliated or

discriminated against the employee for whistleblowing activities. It is possible for an

employee’s dismissal to be consistent with the terms of a CBA because the employee may have,

in fact, broken a rule, while possibly being in violation of FRSA because the dismissal may have

been motivated in part by retaliation. In such a scenario, there would be no relief under the

CBA, but there could be relief under FRSA. These results are not inconsistent because they stem

from different inquiries despite sharing a common factual occurrence. Def.’s Mem. at 22-23. To



                                                 17
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 24 of 31



the extent that both of these proceedings result in a back pay award, a carrier can rely on §

20109(f) to avoid duplicative recovery. Def.’s Mem. at 20 (citing Compl. Ex. A at 4, 9; Gonero

v. Union Pacific R.R. Co., 2009 WL 3378987, at *3-*6 (E.D. Cal. Oct. 19, 2009) (section

20109(f) does not bar an employee from filing both a FRSA complaint and state common law

claims related to unlawful dismissal from employment, but it rather bars duplicative recovery)).

         In its quest for this Court to ignore Alexander (which it somewhat inconsistently contends

does not undercut its position), Plaintiff also argues that the case has no application where, as

here, there is a statutory election-of-remedies provision, Pl.’s Opp’n at 33, and that the

arbitration involved in Alexander was not mandated by a statute, Pl.’s Opp’n at 26. These

differences do not undermine the Supreme Court’s conclusions in Alexander that an employee

can only seek to vindicate contractual rights in arbitration, 415 U.S. at 49, that these contractual

rights are different from federal statutory rights, 415 U.S. at 49-50, that “no inconsistency results

from permitting both rights to be enforced in their respectively appropriate forums,” 415 U.S. at

50, that “the relationship between the forums is complementary since consideration of the claim

by both forums may promote policies underlying each,” 415 U.S. at 50-51, and that “the

arbitrator has authority to resolve only questions of contractual rights,” 415 U.S. at 53-54. In

addition, the Supreme Court has applied Alexander in cases involving arbitration mandated by

the RLA. See Buell, 480 U.S. at 564-565. Accordingly, this Court cannot ignore Alexander. 13

         Finding no support in the language of § 20109(f), the structure of § 20109, or the

legislative history, Plaintiff attempts an ill-conceived analogy between § 20109(f) and 42 U.S.C.

§ 1983. Plaintiff argues that the other “provision of law” in § 20109(f) need not afford an


13
  Plaintiff incorrectly suggests that the Supreme Court has “long since repudiated” the rationale in Alexander. Pl.’s
Opp’n at 33 n.24. While the Supreme Court has recognized “some tension” between Alexander and Gilmer v.
Interstate/Johnson Lane Corp., 500 U.S. 20, 30-32 (1991), it has not repudiated Alexander. See Wright v. Universal
Maritime Service Corp., 525 U.S. 70, 76-77 (1998).

                                                         18
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 25 of 31



employee any right that he can seek to vindicate because “no one would doubt for a moment”

that a person suing under § 1983 seeks protection under that statute despite the fact that it affords

no substantive rights. Pl.’s Opp’n at 25. But just because courts in § 1983 cases have said in

passing that a plaintiff can seek or invoke the protection of § 1983 for violations of federal rights

by state officials does not mean that a railroad employee who challenges his dismissal by filing a

grievance and pursuing arbitration “seek[s] protection” under the RLA for purposes of §

20109(f). The § 1983 cases Plaintiff cites are inapplicable, especially given the significant

differences between § 1983 and the RLA.

       Section 1983 was enacted as part of the Civil Rights Act of 1817 to provide a private

civil cause of action for citizens to sue persons who, under color of state law, violated their

federal constitutional and statutory rights. Adkins v. Hendrick, 2012 WL 2178701, *1 n.1

(D.S.C.) (citing Jennings v. Davis, 476 F.2d 1271 (8th Cir. 1973)). The RLA is not a private

civil cause of action for violations of federal rights, but rather establishes a mandatory process

for the resolution of disputes concerning the terms of a CBA. Def.’s Mem. at 2 (citations

omitted). In addition, while it can be said colloquially that § 1983 can be used to protect a

citizen’s federal civil rights, it cannot be said, even colloquially, that the RLA can be used to

protect federal rights like those under FRSA. See Def.’s Mem. 22-23, 29; Pl.’s Opp’n at 22, 26.

Therefore, an employee does not “seek protection” under the RLA for purposes of § 20109(f)

when he files a grievance and pursues arbitration.

       Sections 20109(g) and (h) of FRSA confirm that § 20109(f) does not bar concurrent

arbitration and FRSA claims. Section 20109(g) establishes that nothing in § 20109, which

obviously includes § 20109(f), “preempts or diminishes” any other protections against

discrimination or retaliation in federal or state law. Similarly, § 20109(h) establishes that



                                                 19
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 26 of 31



nothing in § 20109 “preempts or diminishes” the rights or remedies of any employee under any

Federal or State law or under any collective bargaining agreement” and that FRSA rights and

remedies cannot be waived “by agreement, policy, form, or condition of employment.” 49

U.S.C. § 20109 (h) (emphasis added). These provisions make three points clear.

       First, Congress distinguishes between federal/state laws and CBAs for FRSA purposes.

This supports the ARB’s conclusion that the rights conferred by a CBA are not conferred by

“another provision of law.” Second, § 20109(f) does not diminish the rights or remedies of an

employee under a CBA. And third, a CBA cannot waive FRSA rights. If nothing in FRSA can

diminish rights under a CBA, then nothing in a CBA can diminish rights under FRSA. This is

plain from § 20109(h), which establishes that a CBA cannot waive FRSA rights. Accepting

Plaintiff’s argument that an employee who files a grievance and pursues arbitration under a CBA

waives his right to file a FRSA claim is inconsistent with § 20109(h). In essence, Plaintiff and

its Amicus would present employees with the choice of either (a) filing a complaint under FRSA

alleging retaliation and discrimination for reporting safety violations or work-related injuries, or

(b) arguing in arbitration that the adverse employment action was unjustified under the terms of

the CBA. Pl.’s Opp’n at 34; Amicus Br. at 3-4. Besides the fact that, as explained above, §

20109(f) does not require an employee to make this false choice, such an interpretation would

effectively invalidate § 20109(h) because exercising CBA rights would waive FRSA rights.

       A court that has considered a similar issue has rejected Plaintiff’s view that §§ 20109(g)

and (h) are only about “preserving rights” and do not allow proceedings concurrent with a FRSA

complaint. Pl.’s Opp’n at 35, 36 n.27. In Gonero, a rail employee filed both a FRSA complaint

and a claim under state law. 2009 WL 3378987, at *1-*3. Although the plaintiff withdrew his

FRSA claim shortly after filing the suit in state court, the court considered the effect of the FRSA



                                                 20
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 27 of 31



complaint on the state law claims. First, the court established that ordinarily to “ ‘elect’ a

remedy … requires more than the mere commencement of a suit: ‘a plaintiff may pursue an

action against an identical defendant in several courts at the same time … [b]ut … there can be

only one recovery.’ ” Id. at *3 (citing Sears, Roebuck & Co. v. Metro. Engravers, Ltd., 245 F.2d

67, 69-70 (9th Cir. 1956)). The filing of “a complaint with [DOL] alleging violations under

FRSA … [is] not … enough to invoke the doctrine of election of remedies ….” Id. See id. at *5

(explicitly rejecting the “argument that the mere filing of a complaint, absent any element of

estoppel, constitutes and ‘election’ ” for purposes of § 20109(f)). This categorically refutes

Plaintiff’s contention that an employee “seeks protection” for purposes of § 20109(f) simply by

filing or pursuing a claim. Pl.’s Opp’n at 30 n.22, 31 n.23. Second, the court stated that the

“election of remedies doctrine … ‘has no application where a party has different remedies for the

enforcement of different and distinct rights or the redress of different and distinct wrongs.’ ” Id.

(quoting Latman v. Burdette, 366 F.3d 774, 783 (9th Cir. 2004)). This supports the ARB’s

reasoning that § 20109(f) does not bar an employee from pursuing both a FRSA complaint and

arbitration because these constitute “distinct rights” for the redress of “different wrongs.” And

third, the court concluded that §§ 20109(g) and (h) “clarify that railroad employees do not forfeit

their rights under state law when they invoke the protections of the FRSA.” Id. at *5. This

refutes Plaintiff’s argument that an employee cannot pursue to decision both a FRSA complaint

and arbitration. 14 Pl.’s Opp’n at 36 n.27. “Interpreting Subsection (f) [as Plaintiff suggests]



14
  To the extent that Plaintiff suggests that the timing of the filing of a FRSA complaint and another action matter for
purposes of §§ 20109(f), (g), and (h), see Pl.’s Opp’n at 36 n.27, Gonero does not lend support to that view. To be
sure, Gonero noted that Koger’s case was different because he arbitrated his dismissal before filing a FRSA claim.
2009 WL 3378987, at *5. But the court did not say that the timing of the filing of the suits was what could
constitute an “election of remedies.” Rather, the court said that obtaining a remedy is what can constitute an
“election.” Id. In this case, after the FRSA complaint is fully adjudicated, § 20109(f) may bar Koger from
obtaining duplicative remedies, but not punitive damages, compensatory damages, and attorney’s fees, which he did
not and could not have obtained in arbitration. See Compl. Ex. A at 8.

                                                          21
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 28 of 31



would clearly diminish the rights of railroad workers, and is an interpretation which the statutory

language of Subsections (f)[-](h) does not compel.” 15 Id. at *6.

         Recognizing that § 20109(f) as written does not support their arguments, Plaintiff and its

Amicus ask the Court to exercise Leedom jurisdiction to strike down the ARB Order because

FRSA proceedings are more costly and burdensome for them than arbitration. Pl.’s Opp’n at 32;

Amicus Br. at 4, 10-13. In doing so, they reveal that the real motivation behind this Complaint is

reducing FRSA actions because of their inconvenience to railroad carriers. Essentially, they

advocate for a change in the law. While Plaintiff and its Amicus may articulate legitimate

business concerns, these types of arguments certainly do not show that Leedom applies. In any

event, the appropriate forum in which to raise these arguments is Congress, not this Court.

III.     PLAINTIFF HAS NO CLEAR STATUTORY RIGHT TO VINDICATE, OR IN
         THE ALTERNATIVE, PLAINTIFF CAN OBTAIN RELIEF IN THE COURT OF
         APPEALS.

         For Leedom to apply, the Secretary must have violated a clear statutory right of Plaintiff.

Def.’s Mem. at 29 (citing Public Citizen v. Office of the U.S. Trade Representatives, 970 F.2d

916, 922 (D.C. Cir. 1992)). It is plain from the text of § 20109(f) that Plaintiff does not have a

clear statutory right. A case that Plaintiff relies on for a different proposition, FTC v. Miller, 549

F.2d 452 (7th Cir. 1997), is instructive on this point. See Pl.’s Opp’n at 40. In that case, a statute

explicitly exempted common carriers from FTC investigations. Miller, 549 F.2d at 454-56. The

court held that plaintiff, a common carrier, had a clear right to be exempt from FTC


15
  Plaintiff relies on cases dealing with election-of-remedies provisions other than § 20109(f). None of these cases is
relevant because the language in those provisions is different from the language in § 20109(f). For example,
Plaintiff relies on Jeffers v. Chao, 2006 WL 13241 (D.D.C. 2006) and Roswell v. Wood, 357 F.Supp.2d 123 (D.D.C.
2004). Pl.’s Opp’n at 21 n.16; 30 n.22. These cases dealt with the same statute, the Civil Service Reform Act,
which provides that an employee “may raise the matter under a statutory procedure of the negotiated [CBA]
grievance procedure, but not both.” 5 U.S.C. § 7121(d). In contrast, § 20109(f) does not say that an employee may
“raise” a matter under FRSA or a CBA “but not both.” Instead, it says that an employee may not “seek protection”
under FRSA and “another provision of law for the same … unlawful act….”


                                                         22
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 29 of 31



investigations. Id. at 460. Here, however, § 20109(f) does not explicitly exempt Plaintiff from

FRSA investigations. Therefore, Plaintiff does not have a clear right under § 20109(f).

       Plaintiff claims that such a right should be inferred because “the rights afforded to

employees are conditioned in certain respects, in ways that serve to protect the interests of

railroads as respondents.” Pl.’s Opp’n at 41. Using another ill-conceived analogy, Plaintiff

refers to statutes of limitations. But Plaintiff cites no case where a court has exercised Leedom

jurisdiction based on a statute of limitations or another statute, such as § 20109(f), which does

not confer an explicit right to the party invoking Leedom jurisdiction. Under Plaintiff’s logic, as

long as one can infer a possible benefit from a statute, one can claim that Congress created a

clear statutory right enforceable through Leedom. Accepting such logic would impermissibly

stretch Leedom beyond its very narrow scope. There has to be a clear statutory right, not simply

an implied benefit, for Leedom to apply. Since Plaintiff has no clear right under § 20109(f), the

Complaint should be dismissed.

       Plaintiff also fails to show the lack of meaningful and adequate means of vindicating its

alleged statutory right under § 20109(f). Plaintiff argues that it cannot be assured of obtaining

judicial review of the ARB Order in the Court of Appeals because Koger can withdraw its FRSA

complaint from DOL and bring a de novo civil action in district court. Pl.’s Opp’n at 38. In

addition, it argues that appellate review is not meaningful and adequate because it would still

have to go through the FRSA investigation and adjudication process. Pl.’s Opp’n at 39. Neither

of these arguments justifies exercising Leedom jurisdiction.

       If Koger withdraws his FRSA complaint and bring an action in district court, Plaintiff

will have the opportunity there to raise its arguments regarding the proper interpretation of §

20109(f). It could also seek to obtain binding circuit court precedent upon review of the district



                                                 23
        Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 30 of 31



court’s decision. Thus, Plaintiff has meaningful and adequate means for obtaining relief if Koger

withdraws his FRSA complaint.

       If Koger does not withdraw his FRSA complaint, Plaintiff has “an unquestioned right

[under § 20109(d)(4)] to review of the” ARB Order in the court of appeals at such time as a final

adverse ruling is issued. MCorp, 502 U.S. at 44. See Def.’s Mem. at 31 (citing, e.g., Sturm, 300

F.3d at 875; Detroit Newspaper Agency v. Nat’l Labor Relations Bd., 286 F.3d 391, 399-400 (6th

Cir. 2002)). In MCorp, a bank argued that there was Leedom jurisdiction to enjoin the

prosecution of an administrative proceeding. 502 U.S. at 34. The agency had issued various

non-final cease-and-desist orders in that proceeding. Id. at 35, 38. A statutory provision clearly

precluded judicial review of these non-final orders in district court, but authorized review of final

agency orders in the courts of appeal. Id. at 38-39. The Supreme Court rejected the Leedom

argument because: “If and when the [agency] finds that [the bank] has violated the regulation,

[the bank] will have, in the Court of Appeals, an unquestioned right to review of both the

regulation and its application.” Id. at 43-44 (emphasis added). MCorp establishes that (1) the

possibility that a plaintiff’s ability to obtain appellate review is affected during the course of an

administrative proceeding; (2) the burden of going through the prescribed administrative process;

and (3) the potentially negative effects of an allegedly improper administrative decision, do not

justify the exercise of Leedom jurisdiction.

       The rationale in MCorp applies here: “if and when” the ARB finds that Plaintiff has

violated FRSA, Plaintiff will have in the court of appeals an unquestioned right to review of the

ARB Order. The “if and when” in this sentence refutes Plaintiff’s suggestion that Leedom

applies because it cannot be “assured” of obtaining appellate review or because, before obtaining

review, it will be burdened by the effects of an allegedly improper administrative decision and by



                                                  24
          Case 1:12-cv-00306-BJR Document 23 Filed 06/25/12 Page 31 of 31



having to go through the prescribed administrative process. 16 See Def.’s Mem. at 31 (citing

Sturm, 300 F.3d at 875). Leedom does not apply because Plaintiff has an unquestioned right

under § 20109(d)(4) to seek appellate review of the ARB Order “if and when” the ARB

determines that Plaintiff violated FRSA.

                                                 CONCLUSION

         For the foregoing reasons, the Court lacks jurisdiction over this matter and should dismiss

Plaintiff’s Complaint under Rule 12(b)(1). For essentially the same reasons, Plaintiff has failed

to state a claim upon which relief may be granted. Consequently, and alternatively, the case

should be dismissed under Rule 12(b)(6).

Dated: June 25, 2012                                       Respectfully submitted,

                                                           STUART F. DELERY
                                                           Acting Assistant Attorney General

                                                           JUDRY L. SUBAR
                                                           Assistant Branch Director

                                                           /s/ Héctor G. Bladuell_______________
                                                           HECTOR G. BLADUELL
                                                           Trial Attorney (D.C. Bar No. 503277)
                                                           United States Department of Justice
                                                           Civil Division, Federal Programs Branch
                                                           20 Massachusetts Avenue NW
                                                           Washington, D.C. 20530
                                                           Tel: (202) 514-4470
                                                           Fax: (202) 616-8470

                                                           Counsel for Defendant




16
  As explained above, Plaintiff’s reliance on FTC v. Miller, 549 F.2d 452 (7th Cir. 1977) for the proposition that it
has a clear right to be free from investigations is misplaced. Miller actually shows that Plaintiff does not have such
a clear right.

                                                          25
